                 Case 4:02-cv-00041-HLM Document 619 Filed 10/17/03 Page 1 of 2

            CIVIL                                                                                             FILE# 1h ~l ;~K~S r~~F .t
                                                                                                                 ~~ ._ .;7~   . : . . . .t
                     MINUTE

                              SHEET
                                                                                                                OCT z~N '

                                                                                                            F[~MC                   DIVISION

1 1 IN OPEN COURT           (JK IN CHAMBERS              DATE:    !O - /7 -03                TIME : _         l . aa Q~ M

Honorable                  I-tFFkU2.D    l, .    M040/}-Y                            D2/) /LAS .T           Z610y
                                                                                Court Reporter

                         5~qn,.u&r M To
                    Deputy Cork




          ZN        A?C'      T ...SbO.te             G.'17sGAm                          ~~-dt9i2T Sy7A-//sy




                                                                                     4-~ or -c-v -41- ~-c pi-t
                                                                                Cup No .
                                                                                           C.rSu        6~ c_T i ~/ 5
                                                                                Counsel'


                                                                                                                                    S
                                                                                         y` ,T          ~rt/A~~c.w
Cause came on for 1 1 Jury _I 1 Non-Jury trial on the merits .                  Came the parties in person and/or as shown above .

Plaintiff (s)        (   1 Request to Charge     (       1 Voir Digs     1     1 Trial Memo/Brief       1   ) Statement of Contentions
Defendant(s)         (   1 Request to Charge     (       1 Voir Dire     1     ) Trial Memo/Brief       1   1 Statement of Contentions

Plaintiff(s)         1    1 Proposed Findings of Fact and Conclusions of Law
Defendant(s)        l    ) Proposed Findings of Fact and Conclusions of Law

1     I     Whereupon the Court ordered that a jury be impaneled to try said issue, and after the Court had qualified
            the jurors for cause, and after counsel had exercised all peremptory challenges, the jurors selected to try
            said issue came and were sworn, to wit :

111                                                                161

12)                                                                171

131                                                                181

(4)                                                                !91

15)                                                                1101

          The Rule of Sequestration 1    1 was       (    ) was not          invoked .
                                                                                                                                             c(/ l 1
               Case 4:02-cv-00041-HLM Document 619 Filed 10/17/03 Page 2 of 2


HEARINGS/PRE-TRIALS/EVIDENCE :

             (c            la,,) rcnirx-

    9*12.Y                 1 Jow T 1 0
                                     .I      Sc f-+ ~.2w~2~n.~'         ii, ~ a .,.Lt4       AO E      Po FNA-nt

                                                                                                        1

            HU7aCNer - Pus h                     .Def-Purl t   e c,riT )   e/2:.lOY~R&CaLi.dbJo


    3ggo('3-ao em .
        J~        j'IQ,S     /Y1Dd~rJ ~e c1          ~ ip pd5e dJ          Ol~ ~,E~r

                                                                                         ,yD crn.P
                                                                                    !!~279




                                                                                                    .'DO p .,Oe~




VERDICT:




JUDGM




Court adjourned ac                                        until
( ) until further order
1 ) jurors excused until the above time under the usual caution of the Court
( (jurors excused for the term
 1 1 jurors excused and directed to return to the jury assembly room

Exhibits returned to counsel for 1        ) Plaintiffls)   1   1 Defendant(s)   1   1 Court Reporter

1   1 Exhibits retained by the Court
